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                 EXHIBIT B
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                                                            Schedule A
                                Dfinity USA Research LLC (Crypto Asset - ICP) Securities Class Action
                      Summary of Share Accounting Gain (Loss) Analysis for Henry Rodriguez for Rule 10b-5 Claim
              Class Period Begins            5/10/2021
              Class Period Ends              6/22/2021

                                                                                                        Prior to
                                           ICP Tokens Held ICP Tokens ICP Tokens Sold ICP Tokens Held Expiration of                 ICP Tokens
                                            @ Beginning of Bought During During Class @ End of Class   LookBack                   Retained Under
  Ln.                 Type of Security       Class Period   Class Period   Period          Period        Period                    LIFO Analysis
                                                                 [Schedule B]    [Schedule C]                     [Schedule C]      [Schedule C]


   1          Total ICP Tokens                              -        1,984.37          719.22        1,265.15         1,264.84               0.31



                                                                  Total FIFO      Total LIFO
                                            Total Cost for      Proceeds for    Proceeds for    FIFO Loss for    LIFO Loss for     Dura Loss for
                                             ICP Tokens          ICP Tokens      ICP Tokens      ICP Tokens       ICP Tokens        ICP Tokens
                                              Purchased          Purchased       Purchased       Purchased        Purchased         Purchased
                                             During Class       During Class    During Class    During Class     During Class      During Class
                      Type of Security          Period             Period          Period          Period           Period            Period
                                             [Schedule B]        [Schedule B]    [Schedule B]    [Schedule B]     [Schedule B]      [Schedule C]


   2          Total ICP Tokens                    200,909             133,585         131,531         (58,191)         (58,798)          (61,221)




Dfinity USA Research LLC                                                                                                                            Page 1 of 8
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                                                                                         Schedule B
                                                             Dfinity USA Research LLC (Crypto Asset - ICP) Securities Class Action
                                           Analysis of Accounting Gain/ (Loss) on Purchases of ICP Tokens for Henry Rodriguez for Rule 10b-5 Claim

                Class Period Begins 5/10/2021
                Class Period Ends 6/22/2021                        Post CP                                                                                                        [Note a]              [Note a]
                                                       Price      Avg Price                                                                          Total       Amount             FIFO                  LIFO
                                        Trade         per ICP      per ICP        Quantity       Quantity        ICP Tokens       Total           Proceeds     Cash Inflow/     Cash Inflow/          Cash Inflow/
   Ln.            Transaction Type      Date          Tokens       Tokens        Purchased        Sold             Balance        Cost          CP ICP Tokens (Cash Outflow)   (Cash Outflow)        (Cash Outflow)

     1        CLASS PERIOD TRANSACTIONS
     2          BUY              5/18/2021           $ 162.67                        359.81             -            359.81         58,530                  -       (58,530)              (58,530)              (58,530)
     3          SELL             5/26/2021           $ 141.76                           -            359.81             -                -             51,006        51,006                51,006                51,006
     4          BUY              5/28/2021           $ 115.54                        359.42             -            359.42         41,527                  -       (41,527)              (41,527)              (41,527)
     5          SELL             5/29/2021           $ 109.81                           -            359.42             -                -             39,467        39,467                39,467                39,467
     6          BUY               6/2/2021           $ 108.34                        227.36             -            227.36         24,632                  -       (24,632)              (24,632)              (24,632)
     7          BUY               6/5/2021           $ 103.41                         89.54             -            316.90          9,259                  -        (9,259)               (9,259)               (9,259)
     8          BUY               6/8/2021           $ 86.18                         114.33             -            431.22          9,853                  -        (9,853)               (9,853)               (9,853)
     9          BUY              6/10/2021           $ 73.73                         251.86             -            683.08         18,570                  -       (18,570)              (18,570)              (18,570)
    10          BUY              6/11/2021           $ 66.21                         582.07             -          1,265.15         38,539                  -       (38,539)              (38,539)              (38,539)
    11
    12          TOTAL CLASS PERIOD TRANSACTIONS                                    1,984.37          719.22                        200,909             90,473     (110,435)              (110,435)             (110,435)
    13                                                                         [To Schedule A] [To Schedule A]                [To Schedule A]
    14        POST CLASS PERIOD TRANSACTIONS FIFO
    15         SELL               7/10/2021   $ 38.10 $              42.51                           131.30        1,133.85                             5,002        5,002                  5,581            N/A
    16         SELL               7/16/2021   $ 33.61 $              41.15                         1,133.85             -                              38,109       38,109                 46,662            N/A
    17
    18          Total Post Class Period Tranactions FIFO                                           1,265.15                                            43,111       43,111                 52,244            N/A
    19
    20          TOTAL CLASS PERIOD FIFO GAIN/LOSS                                                                                               $    133,585                   $          (58,191)
    21                                                                                                                                          [To Schedule A]                    [To Schedule A]
    22
    23        POST CLASS PERIOD TRANSACTIONS LIFO
    24         SELL               7/17/2021    $ 32.46 $             40.81                           496.88          768.27                            16,129       16,129             N/A                       20,279
    25         SELL               7/17/2021    $ 32.44 $             40.81                           767.96            0.31                            24,913       24,913             N/A                       31,342
    26         HOLDING            [Schedule E]         $             51.37                             0.31                                                16           16             N/A                           16
    27
    28          Total Post Class Period Tranactions LIFO                                           1,265.15                                            41,057       41,057             N/A                       51,637
    29
    30          TOTAL CLASS PERIOD LIFO GAIN/LOSS                                                                                               $    131,531                                         $          (58,798)
    31                                                                                                                                          [To Schedule A]                                          [To Schedule A]
         Notes:
          [a] Given Mr. Rodriguez had no pre-Class Period Holdings, we only needed to analyze the sale of the 1,265.15 he owned at the end of the Class Period on a separate FIFO or LIFO basis. We
                calculated his post class period sales using the higher of the actual sales price or the average of trading price of ICP Tokens from the end of the Class Period to the actual sales date.




Dfinity USA Research LLC                                                                                                                                                                                                   Page 2 of 8
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                                                                                                  Schedule C
                                                                      Dfinity USA Research LLC (Crypto Asset - ICP) Securities Class Action
                                               Last-In First-Out ("LIFO") Dura ICP Tokens Accounting Gain (Loss) Analysis for Henry Rodriguez for 10b-5 Claim
                   Class Period Begins            5/10/2021
                   Class Period Ends              6/22/2021
                                                                                                                                    Quantity                                                                    [Note a]
                    Transaction       Trade        Quantity       Price per          Total          Transaction        Trade         Sold or       Price per            Total              Actual                 Dura
  Ln.                  Type           Date        Purchased      ICP Tokens          Cost              Type            Date           Held        ICP Tokens          Proceeds           Gain/ (Loss)             Loss
  1      [a]         Purchase      5/18/2021           359.81   $     162.67   $        58,530          Sale        5/26/2021           359.81   $     141.76    $        51,006                (7,524)               (7,524)
  2                  Purchase      5/28/2021           359.42         115.54            41,527          Sale        5/29/2021           359.42         109.81             39,467                (2,059)               (2,059)
  3                  Purchase      6/2/2021              0.31         108.34                34         Holding         Avg                0.31          51.38                 16                   (18)                  (18)
  4                  Purchase      6/2/2021            227.05         108.34            24,598          Sale        7/17/2021           227.05          32.44              7,365               (17,233)               (9,266)
  5                  Purchase      6/5/2021             89.54         103.41             9,259          Sale        7/17/2021            89.54          32.44              2,905                (6,354)               (3,654)
  6                  Purchase      6/8/2021            114.33          86.18             9,853          Sale        7/17/2021           114.33          32.44              3,709                (6,144)               (4,666)
  7                  Purchase      6/10/2021           251.86          73.73            18,570          Sale        7/17/2021           251.86          32.44              8,170               (10,399)              (10,279)
  8                  Purchase      6/11/2021            85.19          66.21             5,640          Sale        7/17/2021            85.19          32.44              2,764                (2,877)               (3,477)
  9                  Purchase      6/11/2021           496.88          66.21            32,898          Sale        7/17/2021           496.88          32.46             16,129               (16,770)              (20,279)
  10
  11           Total Class Period Purchases          1,984.37                  $       200,909     Total Sales or Retained            1,984.37                   $       131,531     $         (69,378)   $          (61,221)
  12                                                                                                                                                                                                          [To Schedule A]
  13                                                                                               Total Shares Sold During CP          719.22 [To Schedule A]
  14                                                                                               Total Shares Sold Post CP          1,264.84 [To Schedule A]
  15                                                                                               Total Shares Retained                  0.31 [To Schedule A]
  16                                                                                                                  Total           1,984.37
  17

Notes:
         [a]       For purposes of our Dura LIFO analysis, we calculated Mr. Rodriguez post class period sales using the higher of the actual sales price or the average of trading price of ICP Tokens from the end of the
                   Class Period to the actual sales date.




Dfinity USA Research LLC                                                                                                                                                                                                Page 3 of 8
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                                                                 Schedule D
                                     Dfinity USA Research LLC (Crypto Asset - ICP) Securities Class Action
                Analysis of Accounting Gain/ (Loss) on Purchases of ICP Tokens for Henry Rodriguez for Section 12(a)(1) Claim

               Class Period Begins   5/10/2021
               Class Period Ends      Current
                                                     Price                                                              Total      Amount
                                       Trade        per ICP       Quantity    Quantity    ICP Tokens      Total       Proceeds   Cash Inflow/
   Ln.          Transaction Type       Date         Tokens       Purchased     Sold         Balance       Cost       ICP Tokens (Cash Outflow)

    1        SECTION 12(a)(1) CLASS PERIOD TRANSACTIONS
    2          BUY                   5/18/2021    $    162.67        359.81         -         359.81       58,530             -       (58,530)
    3          SELL                  5/26/2021    $    141.76           -        359.81          -              -        51,006        51,006
    4          BUY                   5/28/2021    $    115.54        359.42         -         359.42       41,527             -       (41,527)
    5          SELL                  5/29/2021    $    109.81           -        359.42          -              -        39,467        39,467
    6          BUY                    6/2/2021    $    108.34        227.36         -         227.36       24,632             -       (24,632)
    7          BUY                    6/5/2021    $    103.41         89.54         -         316.90        9,259             -        (9,259)
    8          BUY                    6/8/2021    $     86.18        114.33         -         431.22        9,853             -        (9,853)
    9          BUY                   6/10/2021    $     73.73        251.86         -         683.08       18,570             -       (18,570)
    10         BUY                   6/11/2021    $     66.21        582.07         -       1,265.15       38,539             -       (38,539)
    11         BUY                   6/26/2021    $     29.00        305.78         -       1,570.93        8,868             -        (8,868)
    12         BUY                    7/8/2021    $     41.07        119.95         -       1,690.88        4,926             -        (4,926)
    13         SELL                  7/10/2021    $     38.10           -        131.30     1,559.58            -         5,002         5,002
    14         BUY                   7/12/2021    $     37.09        132.82         -       1,692.40        4,926             -        (4,926)
    15         BUY                   7/16/2021    $     33.61      1,692.40         -       3,384.80       56,882             -       (56,882)
    16         BUY                   7/16/2021    $     33.64      1,692.40         -       5,077.20       56,932             -       (56,932)
    17         BUY                   7/16/2021    $     33.65      1,692.40         -       6,769.60       56,949             -       (56,949)
    18         BUY                   7/16/2021    $     32.29      1,692.40         -       8,462.00       54,648             -       (54,648)
    19         SELL                  7/16/2021    $     33.61           -      1,692.40     6,769.60            -        56,882        56,882
    20         SELL                  7/16/2021    $     33.64           -      1,692.40     5,077.20            -        56,932        56,932
    21         SELL                  7/16/2021    $     33.65           -      1,692.40     3,384.80            -        56,949        56,949
    22         SELL                  7/16/2021    $     32.78           -      1,692.40     1,692.40            -        55,477        55,477
    23         SELL                  7/17/2021    $     32.46           -        924.13       768.27            -        29,997        29,997
    24         SELL                  7/17/2021    $     32.44           -        767.96         0.31            -        24,913        24,913
    25         BUY                    9/7/2021    $     60.49        162.90         -         163.21        9,854             -        (9,854)
    26         BUY                   9/20/2021    $     48.20        102.22         -         265.42        4,927             -        (4,927)



Dfinity USA Research LLC                                                                                                              Page 4 of 8
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                                                                   Schedule D
                                       Dfinity USA Research LLC (Crypto Asset - ICP) Securities Class Action
                  Analysis of Accounting Gain/ (Loss) on Purchases of ICP Tokens for Henry Rodriguez for Section 12(a)(1) Claim

                Class Period Begins     5/10/2021
                Class Period Ends        Current
                                                              Price                                                                       Total      Amount
                                          Trade              per ICP        Quantity      Quantity      ICP Tokens         Total        Proceeds   Cash Inflow/
   Ln.            Transaction Type        Date               Tokens        Purchased       Sold           Balance          Cost        ICP Tokens (Cash Outflow)

    27          SELL                   9/28/2021         $      42.09             -            23.76        241.66                 -         1,000           1,000
    28          BUY                    10/2/2021         $      51.48           71.18            -          312.84             3,664             -          (3,664)
    29          BUY                    10/2/2021         $      51.60           90.50            -          403.34             4,670             -          (4,670)
    30          BUY                    10/2/2021         $      51.85          134.19            -          537.53             6,958             -          (6,958)
    31          SELL                   10/7/2021         $      50.40             -           198.40        339.13                 -        10,000          10,000
    32          Unrealized Loss        10/11/2021        $      43.69                         339.13     [Note a]                           14,817          14,817
    33
    34        TOTAL SECTION 12(a)(1) CLASS PERIOD TRANSACTIONS               9,873.50       9,873.50                        475,112        402,442         (72,670)
    35
         Notes:
          [a] In order to calculate, Mr. Rodriguez unrealized loss for the shares he was holding as of October 11, 2021, we used the adjusted closing price for ICP
                Tokens per Yahoo Finance for October 11, 2021.




Dfinity USA Research LLC                                                                                                                                   Page 5 of 8
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                                           Schedule E
              Dfinity USA Research LLC (Crypto Asset - ICP) Securities Class Action
                                 Post-Class Period Trading Data
                   For the Period June 22, 2021 through September 19, 2021


 Ln.       Date            Open         High          Low          Close     Adj Close     Volume

  1      06/22/21      $    36.69   $    40.09    $    32.05   $     34.41   $ 34.4137    240,285,267
  2      06/23/21           34.45        40.85         33.04         37.25     37.2549    248,657,687
  3      06/24/21           37.78        38.87         33.26         34.64     34.6414    209,852,877
  4      06/25/21           34.59        36.64         30.70         31.20     31.1975    199,988,023
  5      06/26/21           31.17        33.67         28.34         30.30     30.2976    193,986,633
  6      06/27/21           30.39        44.50         29.56         42.90     42.8984    522,404,040
  7      06/28/21           42.93        50.93         40.61         50.20     50.1953    744,115,346
  8      06/29/21           51.09        59.30         46.84         54.07     54.0667    729,991,535
  9      06/30/21           54.14        54.63         43.44         49.91     49.9110    720,099,619
 10      07/01/21           49.86        50.69         44.39         45.84     45.8413    394,325,155
 11      07/02/21           45.73        47.43         41.54         44.00     43.9976    310,517,772
 12      07/03/21           43.88        50.01         42.81         48.81     48.8113    340,863,535
 13      07/04/21           48.78        50.80         46.42         46.85     46.8516    236,253,860
 14      07/05/21           46.77        47.97         44.12         46.28     46.2762    286,246,376
 15      07/06/21           46.23        48.26         45.04         46.20     46.1969    214,792,473
 16      07/07/21           46.23        47.86         45.14         45.36     45.3587    203,540,374
 17      07/08/21           45.42        45.52         39.26         40.27     40.2733    201,283,611
 18      07/09/21           40.36        42.45         37.44         40.58     40.5832    175,676,808
 19      07/10/21           40.60        42.05         37.79         38.61     38.6132    134,159,072
 20      07/11/21           38.61        41.43         37.86         39.69     39.6904    123,652,152
 21      07/12/21           39.69        40.95         36.02         37.34     37.3420    125,202,533
 22      07/13/21           37.25        39.91         35.35         38.90     38.9048    168,154,654
 23      07/14/21           38.92        39.69         35.37         36.87     36.8717    211,332,904
 24      07/15/21           36.89        38.37         35.43         35.94     35.9432    135,865,806
 25      07/16/21           35.95        35.99         32.23         32.41     32.4135    136,105,384
 26      07/17/21           32.35        33.50         31.17         32.27     32.2685    128,877,230
 27      07/18/21           32.29        34.80         31.91         32.38     32.3813    114,276,461
 28      07/19/21           32.38        32.60         29.83         30.88     30.8838    104,267,239
 29      07/20/21           30.92        31.52         27.14         28.56     28.5577    159,856,193
 30      07/21/21           28.54        35.01         27.76         33.24     33.2401    247,651,151
 31      07/22/21           33.41        35.37         32.25         33.82     33.8181    295,158,600
 32      07/23/21           33.75        35.02         31.76         34.65     34.6512    178,358,226
 33      07/24/21           34.63        45.68         33.94         43.46     43.4646    613,866,981
 34      07/25/21           43.51        45.81         40.47         42.59     42.5878    554,279,833
 35      07/26/21           42.64        48.11         40.52         40.65     40.6472    534,657,011
 36      07/27/21           40.63        41.66         37.62         40.94     40.9357    411,753,144
 37      07/28/21           41.07        43.85         39.49         40.67     40.6732    328,845,351


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 Ln.       Date            Open     High         Low       Close     Adj Close     Volume

 38      07/29/21           40.76     41.81       39.25      41.21    41.2092      202,258,965
 39      07/30/21           41.26     42.70       38.43      42.15    42.1531      237,668,877
 40      07/31/21           42.18     43.85       40.45      41.72    41.7189      238,887,679
 41      08/01/21           41.84     44.39       40.63      40.91    40.9144      254,763,679
 42      08/02/21           40.91     41.51       39.90      40.20    40.2037      190,864,848
 43      08/03/21           40.20     40.62       37.63      38.45    38.4507      211,961,433
 44      08/04/21           38.56     40.43       37.85      39.31    39.3134      172,186,967
 45      08/05/21           39.32     42.71       38.23      41.99    41.9938      211,653,575
 46      08/06/21           42.10     52.00       40.52      48.24    48.2377      703,665,240
 47      08/07/21           48.25     65.94       47.97      61.84    61.8426    1,437,084,818
 48      08/08/21           61.71     62.10       53.33      55.24    55.2400      704,808,377
 49      08/09/21           55.20     68.75       52.79      64.48    64.4809    1,145,399,887
 50      08/10/21           64.33     76.28       61.49      71.54    71.5434    1,291,760,542
 51      08/11/21           71.63     76.49       65.74      67.40    67.3988    1,069,465,422
 52      08/12/21           67.33     71.94       60.27      63.97    63.9655      858,736,754
 53      08/13/21           64.18     68.70       62.94      68.10    68.0991      582,571,434
 54      08/14/21           68.21     68.21       62.26      64.28    64.2848      501,930,984
 55      08/15/21           64.24     64.93       58.62      63.49    63.4916      455,919,602
 56      08/16/21           63.44     67.73       60.43      61.28    61.2755      599,483,659
 57      08/17/21           61.08     64.16       54.74      56.01    56.0090      539,935,214
 58      08/18/21           56.01     61.45       54.68      58.67    58.6679      510,869,740
 59      08/19/21           58.44     68.98       58.10      67.06    67.0590      919,710,486
 60      08/20/21           67.08     70.87       65.74      67.89    67.8936      585,749,469
 61      08/21/21           67.90     69.43       64.26      64.59    64.5925      377,599,380
 62      08/22/21           64.62     66.96       62.01      64.82    64.8166      290,853,730
 63      08/23/21           64.66     67.63       63.74      65.68    65.6825      371,074,973
 64      08/24/21           65.71     66.87       57.79      59.29    59.2942      473,736,239
 65      08/25/21           59.28     63.74       56.24      62.05    62.0477      555,546,254
 66      08/26/21           62.22     63.19       56.11      56.65    56.6510      575,786,238
 67      08/27/21           56.67     63.62       54.56      62.72    62.7167      647,257,616
 68      08/28/21           62.76     68.48       61.98      65.03    65.0281      814,141,929
 69      08/29/21           65.14     74.80       61.76      72.12    72.1210    1,209,069,490
 70      08/30/21           72.09     73.18       64.16      64.89    64.8855    1,008,124,228
 71      08/31/21           64.80     67.68       61.87      62.96    62.9608      701,945,515
 72      09/01/21           62.87     66.45       60.58      66.23    66.2339      552,607,197
 73      09/02/21           66.19     68.82       64.65      64.65    64.6520      523,349,217
 74      09/03/21           64.56     68.50       63.53      65.87    65.8651      501,319,394
 75      09/04/21           65.82     78.74       65.42      78.67    78.6747    1,156,306,862
 76      09/05/21           78.36     83.39       76.33      79.27    79.2740    1,456,750,045
 77      09/06/21           79.32     86.86       76.88      79.31    79.3119    1,181,399,573
 78      09/07/21           79.48     79.80       55.25      60.99    60.9878    1,455,296,768
 79      09/08/21           61.12     63.77       55.64      60.86    60.8560      856,020,150


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 Ln.       Date            Open     High           Low         Close      Adj Close      Volume

 80      09/09/21           59.45     64.52         58.99        60.70      60.6987      761,560,560
 81      09/10/21           60.82     62.90         54.76        56.84      56.8378      597,458,244
 82      09/11/21           56.94     61.84         55.81        58.08      58.0777      490,583,398
 83      09/12/21           58.14     61.78         56.54        59.54      59.5406      409,424,693
 84      09/13/21           59.49     60.18         50.72        55.02      55.0230      433,966,343
 85      09/14/21           55.07     58.77         54.49        56.83      56.8321      318,412,299
 86      09/15/21           56.88     61.99         56.76        61.49      61.4915      360,505,139
 87      09/16/21           61.39     61.51         56.89        57.96      57.9624      305,547,297
 88      09/17/21           57.96     58.58         55.11        56.46      56.4641      247,699,310
 89      09/18/21           56.42     61.12         55.50        58.58      58.5830      306,919,229
 90      09/19/21           58.57     58.77         56.24        57.19      57.1852      191,755,819
 91
 92                                           Post-Class Period Average $ 51.3750
 93                                                                    [To Schedule B]

           Source: Yahoo Finance & Coinmarketcap.com




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